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UNITED sTATEs DISTRICT COURT F“»ED P pa°°: o.c.
wEsTERN DlsTRIcT oF TENNESSEE
Western Division 05 JUL "5 FH 3: 52
UNITED sTATEs 0F AMERICA Ctttl<|tt =_ C"HC%UR
as ss is trains
-v- Case No. 2:05cr20232-D

JANET GRIFFIN

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Offrce, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
F ederal Building in Courtroom Courtroom # 5 on Wednesday July 13, 2005 at 9:30am..

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of $15,000.00 or an agreement to forfeit upon failure to appear as required,
and post with the following amount of money to be deposited into the registry of the Court: 10% (or bail
bond).

0 report as directed by the Pretrial Services Office.

0 Maintain or actively seek employment v

0 Abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted

in residence and travel to the Western District of Tennessee.

0 Refrain from possessing a firearm, destructive device, or other dangerous weapon.

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0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §
802, unless with prior written approval of the Pretrial Services Offlcer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

0 Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing.

0 Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretzial Services and pay a percentage of the fee as determined by Pretrial Services.

0 Participate in an electronic monitoring program as directed by Pretrial Services. You shall pay all or part of
the cost of the program based upon your ability to pay as determined by Pretrial Services.

0 Other: Defendant to bear a part of the costs for electronic monitoring Defendant confined to her home. Can
go to work, church and appointments with counsel..

ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment a fine, or both,

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a tenn of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or
both to tamper with a witness, victim or informant to retaliate or attempt to retaliate against a witness, victim or
informant or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If` after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment or imprisonment for a term of fifteen years or more, you
shall be fined not more than 3250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offensel In addition, a failure to appear may result in the forfeiture of any bond posted.

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ACKNOWLEDGMENT OF DEFENDANT

l acknowledge thatI am the defendant in this case and thatI am aware of the conditions of release, I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above.
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Janet Griffin

578 Delta Road
Memphis, TN 38109
(901) 785-5482

DlRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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UNITED SAsTE DISTRIC COURT - WETERS DISTRCIT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20232 Was distributed by faX, mail, or direct printing on
.luly 7, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

